                    Case 24-80991                  Doc 1             Filed 07/22/24 Entered 07/22/24 09:32:02                               Desc Main
                                                                       Document Page 1 of 80
 Fill in this information to identify your case:

 United States Bankruptcy Court for the:

             Northern District of Illinois

 Case number (If known):                           Chapter you are filing under:
                                                   ❑       Chapter 7
                                                   ❑       Chapter 11
                                                   ❑
                                                                                                                                          ❑ Check if this is an
                                                           Chapter 12
                                                   ✔
                                                   ❑       Chapter 13
                                                                                                                                              amended filing


Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                          06/24
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint case—and
in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer would be yes if
either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In
joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.

 Part 1: Identify Yourself

                                              About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
  1.   Your full name
                                               Nathalie
       Write the name that is on your         First name                                                      First name
       government-issued picture
                                               D
       identification (for example, your
                                              Middle name                                                     Middle name
       driver’s license or passport).
                                               Jackson
       Bring your picture identification      Last name                                                       Last name
       to your meeting with the trustee.

                                              Suffix (Sr., Jr, II, III)                                       Suffix (Sr., Jr, II, III)




  2.   All other names you have                Nathalie
       used in the last 8 years               First name                                                      First name

       Include your married or maiden
                                               D
       names and any assumed, trade           Middle name                                                     Middle name
       names and doing business as             Destin
       names.                                 Last name                                                       Last name
       Do NOT list the name of any
       separate legal entity such as a
       corporation, partnership, or LLC       Business name (if applicable)                                   Business name (if applicable)
       that is not filing this petition.
                                              Business name (if applicable)                                   Business name (if applicable)




  3.   Only the last 4 digits of your
                                              xxx - xx - 7           7    4   2                               xxx - xx -
       Social Security number or
       federal Individual Taxpayer            OR                                                              OR
       Identification number
                                              9xx - xx -                                                      9xx - xx -
       (ITIN)




Official Form 101                                             Voluntary Petition for Individuals Filing for Bankruptcy                                            page 1
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 Debtor 1            Nathalie            D                           Jackson                                        Case number (if known)
                     First Name          Middle Name                 Last Name


                                          About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):


  4.   Your Employer Identification
                                                      -                                                               -
       Number (EIN), if any.              EIN                                                             EIN


                                                      -                                                               -
                                          EIN                                                             EIN




                                                                                                          If Debtor 2 lives at a different address:
  5.   Where you live
                                             611 W Menominee St
                                          Number            Street                                        Number           Street




                                             Belvidere, IL 61008
                                          City                                   State    ZIP Code        City                                  State     ZIP Code

                                             Boone
                                          County                                                          County

                                          If your mailing address is different from the one above,        If Debtor 2's mailing address is different from yours, fill
                                          fill it in here. Note that the court will send any notices to   it in here. Note that the court will send any notices to you
                                          you at this mailing address.                                    at this mailing address.


                                          Number            Street                                        Number           Street



                                          P.O. Box                                                        P.O. Box



                                          City                                   State    ZIP Code        City                                  State     ZIP Code




  6.   Why you are choosing this          Check one:                                                      Check one:
       district to file for bankruptcy
                                          ✔ Over the last 180 days before filing this petition, I
                                          ❑                                                               ❑ Over the last 180 days before filing this petition, I
                                                 have lived in this district longer than in any other            have lived in this district longer than in any other
                                                 district.                                                       district.

                                          ❑ I have another reason. Explain.                               ❑ I have another reason. Explain.
                                                 (See 28 U.S.C. § 1408)                                          (See 28 U.S.C. § 1408)




Official Form 101                                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
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 Debtor 1           Nathalie           D                       Jackson                                        Case number (if known)
                    First Name         Middle Name             Last Name


 Part 2: Tell the Court About Your Bankruptcy Case


  7.   The chapter of the Bankruptcy   Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for
       Code you are choosing to file   Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
       under                           ❑     Chapter 7
                                       ❑     Chapter 11
                                       ❑     Chapter 12
                                       ✔
                                       ❑     Chapter 13



  8.   How you will pay the fee        ❑ I will pay the entire fee when I file my petition. Please check with the clerk's office in your local court for more
                                           details about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's
                                           check, or money order. If your attorney is submitting your payment on your behalf, your attorney may pay with
                                           a credit card or check with a pre-printed address.
                                       ✔ I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals
                                       ❑
                                           to Pay The Filing Fee in Installments (Official Form 103A).

                                       ❑ I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a
                                           judge may, but is not required to, waive your fee, and may do so only if your income is less than 150% of the
                                           official poverty line that applies to your family size and you are unable to pay the fee in installments). If you
                                           choose this option, you must fill out the Application to Have the Chapter 7 Filing Fee Waived (Official Form
                                           103B) and file it with your petition.




  9.   Have you filed for bankruptcy   ❑ No.
       within the last 8 years?
                                       ✔ Yes. District Northern District of Illinois
                                       ❑                                                        When 08/08/2023            Case number 23-80943
                                                                                                     MM / DD / YYYY
                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY
                                                District                                        When                       Case number
                                                                                                       MM / DD / YYYY



  10. Are any bankruptcy cases         ✔ No.
                                       ❑
                                       ❑ Yes. Debtor
       pending or being filed by a
       spouse who is not filing this                                                                                    Relationship to you
       case with you, or by a
       business partner, or by an               District                                      When                      Case number, if known
       affiliate?                                                                                    MM / DD / YYYY


                                                Debtor                                                                  Relationship to you

                                                District                                      When                      Case number, if known
                                                                                                     MM / DD / YYYY




  11. Do you rent your residence?      ✔ No. Go to line 12.
                                       ❑
                                       ❑ Yes. Has your landlord obtained an eviction judgment against you?
                                                 ❑ No. Go to line 12.
                                                 ❑ Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it
                                                       as part of this bankruptcy petition.




Official Form 101                                    Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 3
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 Debtor 1           Nathalie               D                       Jackson                                        Case number (if known)
                    First Name             Middle Name             Last Name


 Part 3: Report About Any Businesses You Own as a Sole Proprietor


  12. Are you a sole proprietor of         ✔ No. Go to Part 4.
                                           ❑
                                           ❑ Yes. Name and location of business
      any full- or part-time
      business?

      A sole proprietorship is a
      business you operate as an               Name of business, if any
      individual, and is not a separate
      legal entity such as a
      corporation, partnership, or LLC.        Number         Street

      If you have more than one sole
      proprietorship, use a separate
      sheet and attach it to this
      petition.
                                               City                                                State            ZIP Code

                                               Check the appropriate box to describe your business:

                                               ❑ Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ❑ Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ❑ Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ❑ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ❑ None of the above

  13. Are you filing under Chapter         If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set
      11 of the Bankruptcy Code,           appropriate deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance
      and are you a small business         sheet, statement of operations, cash-flow statement, and federal income tax return or if any of these documents do not
      debtor?                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

      For a definition of small business   ✔ No.
                                           ❑             I am not filing under Chapter 11.

                                           ❑ No.
      debtor, see 11 U.S.C. §
      101(51D).                                          I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the
                                                         Bankruptcy Code.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I do not choose to proceed under Subchapter V of Chapter 11.

                                           ❑ Yes.        I am filing under Chapter 11, I am a small business debtor according to the definition in the
                                                         Bankruptcy Code, and I choose to proceed under Subchapter V of Chapter 11.




Official Form 101                                        Voluntary Petition for Individuals Filing for Bankruptcy                                                page 4
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 Debtor 1           Nathalie            D                       Jackson                                      Case number (if known)
                    First Name          Middle Name             Last Name


 Part 4: Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention


  14. Do you own or have any            ✔ No.
                                        ❑
                                        ❑ Yes.
      property that poses or is
      alleged to pose a threat of                 What is the hazard?
      imminent and identifiable
      hazard to public health or
      safety? Or do you own any
      property that needs immediate
      attention?                                  If immediate attention is needed, why is it needed?

      For example, do you own
      perishable goods, or livestock
      that must be fed, or a building
      that needs urgent repairs?

                                                  Where is the property?
                                                                              Number        Street




                                                                              City                                          State     ZIP Code




Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                   page 5
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 Debtor 1           Nathalie            D                       Jackson                                        Case number (if known)
                    First Name          Middle Name             Last Name


 Part 5: Explain Your Efforts to Receive a Briefing About Credit Counseling


  15. Tell the court whether you        About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):
      have received a briefing
      about credit counseling.

      The law requires that you         You must check one:                                            You must check one:
      receive a briefing about credit
      counseling before you file for    ✔ I received a briefing from an approved credit
                                        ❑                                                              ❑ I received a briefing from an approved credit
      bankruptcy. You must truthfully       counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      check one of the following            filed this bankruptcy petition, and I received a               filed this bankruptcy petition, and I received a
      choices. If you cannot do so,         certificate of completion.                                     certificate of completion.
      you are not eligible to file.
                                            Attach a copy of the certificate and the payment               Attach a copy of the certificate and the payment
      If you file anyway, the court         plan, if any, that you developed with the agency.              plan, if any, that you developed with the agency.
      can dismiss your case, you will
      lose whatever filing fee you      ❑ I received a briefing from an approved credit                ❑ I received a briefing from an approved credit
      paid, and your creditors can          counseling agency within the 180 days before I                 counseling agency within the 180 days before I
      begin collection activities           filed this bankruptcy petition, but I do not have a            filed this bankruptcy petition, but I do not have a
      again.                                certificate of completion.                                     certificate of completion.
                                            Within 14 days after you file this bankruptcy petition,        Within 14 days after you file this bankruptcy petition,
                                            you MUST file a copy of the certificate and payment            you MUST file a copy of the certificate and payment
                                            plan, if any.                                                  plan, if any.
                                        ❑ I certify that I asked for credit counseling services        ❑ I certify that I asked for credit counseling services
                                            from an approved agency, but was unable to                     from an approved agency, but was unable to
                                            obtain those services during the 7 days after I                obtain those services during the 7 days after I
                                            made my request, and exigent circumstances                     made my request, and exigent circumstances
                                            merit a 30-day temporary waiver of the                         merit a 30-day temporary waiver of the
                                            requirement.                                                   requirement.
                                            To ask for a 30-day temporary waiver of the                    To ask for a 30-day temporary waiver of the
                                            requirement, attach a separate sheet explaining                requirement, attach a separate sheet explaining
                                            what efforts you made to obtain the briefing, why you          what efforts you made to obtain the briefing, why you
                                            were unable to obtain it before you filed for                  were unable to obtain it before you filed for
                                            bankruptcy, and what exigent circumstances                     bankruptcy, and what exigent circumstances
                                            required you to file this case.                                required you to file this case.

                                             Your case may be dismissed if the court is                     Your case may be dismissed if the court is
                                             dissatisfied with your reasons for not receiving a             dissatisfied with your reasons for not receiving a
                                             briefing before you filed for bankruptcy.                      briefing before you filed for bankruptcy.

                                             If the court is satisfied with your reasons, you must          If the court is satisfied with your reasons, you must
                                             still receive a briefing within 30 days after you file.        still receive a briefing within 30 days after you file.
                                             You must file a certificate from the approved agency,          You must file a certificate from the approved agency,
                                             along with a copy of the payment plan you                      along with a copy of the payment plan you
                                             developed, if any. If you do not do so, your case may          developed, if any. If you do not do so, your case may
                                             be dismissed.                                                  be dismissed.

                                             Any extension of the 30-day deadline is granted only           Any extension of the 30-day deadline is granted only
                                             for cause and is limited to a maximum of 15 days.              for cause and is limited to a maximum of 15 days.
                                        ❑ I am not required to receive a briefing about credit         ❑ I am not required to receive a briefing about credit
                                            counseling because of:                                         counseling because of:
                                            ❑ Incapacity. I have a mental illness or a mental              ❑ Incapacity. I have a mental illness or a mental
                                                               deficiency that makes me                                      deficiency that makes me
                                                               incapable of realizing or making                              incapable of realizing or making
                                                               rational decisions about finances.                            rational decisions about finances.
                                            ❑ Disability.      My physical disability causes me            ❑ Disability.     My physical disability causes me
                                                               to be unable to participate in a                              to be unable to participate in a
                                                               briefing in person, by phone, or                              briefing in person, by phone, or
                                                               through the internet, even after I                            through the internet, even after I
                                                               reasonably tried to do so.                                    reasonably tried to do so.
                                            ❑ Active duty. I am currently on active military               ❑ Active duty. I am currently on active military
                                                               duty in a military combat zone.                               duty in a military combat zone.

                                             If you believe you are not required to receive a               If you believe you are not required to receive a
                                             briefing about credit counseling, you must file a              briefing about credit counseling, you must file a
                                             motion for waiver of credit counseling with the court.         motion for waiver of credit counseling with the court.


Official Form 101                                     Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 6
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 Debtor 1           Nathalie              D                        Jackson                                          Case number (if known)
                    First Name            Middle Name              Last Name


 Part 6: Answer These Questions for Reporting Purposes


  16. What kind of debts do you               16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
      have?                                        “incurred by an individual primarily for a personal, family, or household purpose.”
                                                   ❑ No. Go to line 16b.
                                                   ✔ Yes. Go to line 17.
                                                   ❑
                                              16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                                   for a business or investment or through the operation of the business or investment.
                                                   ❑ No. Go to line 16c.
                                                   ❑ Yes. Go to line 17.
                                              16c. State the type of debts you owe that are not consumer debts or business debts.



  17. Are you filing under Chapter 7?         ✔
                                              ❑    No. I am not filing under Chapter 7. Go to line 18.

      Do you estimate that after any          ❑    Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
      exempt property is excluded                       administrative expenses are paid that funds will be available to distribute to unsecured creditors?
      and administrative expenses are                      ❑ No
      paid that funds will be available                    ❑ Yes
      for distribution to unsecured
      creditors?

  18. How many creditors do you                ✔ 1-49
                                               ❑                ❑ 1,000-5,000             ❑ 25,001-50,000 ❑ 50,000-100,000 ❑ More than 100,000
      estimate that you owe?                   ❑ 50-99          ❑ 5,001-10,000
                                               ❑ 100-199        ❑ 10,001-25,000
                                               ❑ 200-999

  19. How much do you estimate your            ❑ $0-$50,000                        ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      assets to be worth?                      ❑ $50,001-$100,000                  ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ✔ $100,001-$500,000
                                               ❑                                   ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million               ❑ $100,000,001-$500 million                ❑ More than $50 billion

  20. How much do you estimate your            ❑ $0-$50,000                        ❑ $1,000,001-$10 million                   ❑ $500,000,001-$1 billion
      liabilities to be?                       ❑ $50,001-$100,000                  ❑ $10,000,001-$50 million                  ❑ $1,000,000,001-$10 billion
                                               ✔ $100,001-$500,000
                                               ❑                                   ❑ $50,000,001-$100 million                 ❑ $10,000,000,001-$50 billion
                                               ❑ $500,001-$1 million               ❑ $100,000,001-$500 million                ❑ More than $50 billion
 Part 7: Sign Below


  For you                        I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.
                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                 States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                 have obtained and read the notice required by 11 U.S.C. § 342(b).
                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.

                                   ✘ /s/ Nathalie D Jackson
                                       Nathalie D Jackson, Debtor 1
                                       Executed on 07/22/2024
                                                        MM/ DD/ YYYY




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 Debtor 1           Nathalie                D                        Jackson                                         Case number (if known)
                    First Name              Middle Name              Last Name



   For your attorney, if you are                I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to
   represented by one                           proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under
                                                each chapter for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by
   If you are not represented by an             11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry
   attorney, you do not need to file this       that the information in the schedules filed with the petition is incorrect.
   page.

                                                ✘ /s/ Vaughn White                                                     Date 07/22/2024
                                                     Signature of Attorney for Debtor                                        MM / DD / YYYY




                                                     Vaughn White
                                                    Printed name

                                                     VW LAW LLC
                                                    Firm name

                                                     1700 Park St Suite 203
                                                    Number          Street




                                                     Naperville                                                      IL       60563
                                                    City                                                             State   ZIP Code




                                                    Contact phone (630) 429-9010                       Email address vaughn@vaughnwhite.com


                                                     6198291                                                         IL
                                                    Bar number                                                       State




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    Debtor 1            Nathalie              D                            Jackson                                     case number (dknown/---------
                        Flrst Name            Middle Name                  Last Name


               Answer These QuesUons - Reporting Purposes

     16. What kind of debts do you                 16a. An, your debts prlmarlly consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as
         have?                                          •incu_rred by an individual prirrlarily for a personal, family, or household purpose.•
                                                          D No. Go to line 16b.
                                                          !ill Yes. Go to line 17.

                                                   16b. Are your debts primarily buslness·debls? Business debts are debts that you Incurred to obtain money
                                                        for a business or investment or through the operation of the business or investment
                                                          D No. Go to line 16c.
                                                          D Yes. Go to line 17.
                                                   16c. State the type of debts you owe that are not consumer debts or business debts.



     17. Are you filing under Chapter 7?           !ill
                                                          No. J am not filing under Chapter 7. Go to line 18.

         Do you estimate that after any            D      Yes. I am filing under Chapter 7. Do you estimate that after any exempt property Is excluded and
         exempt property Is excluded                           administrative experises are paid that funds will be available to distribute to unsecured creditors?
         and administrative expenses are                           D No
         paid that funds will be available                         D Yes
         for distribution to unsecured
         creditors?
                                                                                              · ------..---A«-------
                                                                                     - �-----=-
     18. How many creditors do you
                                                    !ill 1-49             D 1,000-5,000         D 25,001-50,000 D 50,000-100,000 D More than 100,000
         estimate that you owe?                     D 50-99               D 5,001-10,000
                                                    D 100-199             D 10.001-25,000
                                                    D    200-999


,
     19. How much do you estimate your              D $0-$50,000                         D $1,000,001-$10 million                  D $500,000,001-$1 billion
,        assets to be worth?                        D $50,001-$100,000                   D $10,000,001-$50 mllllon                 D $1,000,000,001-$10 billion
i                                                   !ill $100,001-$500,000
L ..
                                                                                         D $50,000,001-$100 mlllion                D $10,000,000,001-$50 billion


                                                                                                                                                                       -1
                                                    D $500,001-$1 million                D $100,000,001-$500 million               D More than $50 billion
                --,-•.JI.�--                   0                   -"'-"'t� �        ~           ---
     20. How much do you estimate your              D $0-$50,000                         D $1,000,001-$10 million                 D $500,000,001-$1 billion
         liabilities to be?                         D $50,001-$109,000                   D $10,000,001-$50 millipn                D $1,000,000,001-$10 billion
                                                    !ill $100,001-$500,000               D $50,000,001-$100 million               ·□ $10,000,000,001-$50 billion              I
                                                    D $500,001-$1 million                D $190,000,001-$500 million               D More than $50 bllllon                    I
               Sign Below

                                     I have examined this petition, and I declare under penalty of perjury that the Information provided Is true and oorrect.
                                     If I have chosen·to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 oftltle 11, United
                                     States Code. I imder.rtand the relief available under each chapter, and I choose to proceed under Chapter 7.
                                     If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                     have obtained and read the notice required by 11 U.S.C. § 342(b).
                                     I request relief in accordance with the chapter of titie 11, United States Code, specified In this petition.
                                     I understand making a false statement, concealing property, or obtaining money or prope,ty by fraud In connection with a
                                     bankruptcy ca     n result In fines up to $250,000, or lmprtsonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                     and 3571




,_
I
                                                                7/21/24
                                                             ,MM/ DD/ YYYY                                                                                                    J
                                                            '
    Official Form 101                                           Volunla(y Petition for Individuals Filing for Bankruptcy                                              page?
                  Case 24-80991                       Doc 1            Filed 07/22/24 Entered 07/22/24 09:32:02                                                    Desc Main
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 Fill in this information to identify your case and this filing:

  Debtor 1                 Nathalie                     D                            Jackson
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                        Northern                    District of           Illinois

  Case number                                                                                                                                                          ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      611 W Menominee St,                              ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                 Belvidere, IL 61008                              ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.

                Street address, if available, or other            ❑ Condominium or cooperative                                         Current value of the            Current value of the
                description                                       ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ✔ Land
                                                                  ❑
                 611 W Menominee St                               ❑ Investment property                                                            $169,100.00                 $169,100.00
                                                                  ❑ Timeshare                                                          Describe the nature of your ownership interest
                 Belvidere, IL 61008
                                                                  ❑ Other                                                              (such as fee simple, tenancy by the entireties, or
                City               State         ZIP Code                                                                              a life estate), if known.
                                                                  Who has an interest in the property? Check one.
                 Boone                                            ✔ Debtor 1 only
                                                                  ❑                                                                     Homestead
                County                                            ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                  ❑ At least one of the debtors and another                                 (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:
                                                                   Homestead consisting of house, lot and mineral interests: Property Address:611 W
                                                                   Menominee St, Belvidere, IL 61008

                                                                  Source of Value: Zillow



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $169,100.00



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




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 3.    Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

       ❑ No
       ✔ Yes
       ❑

       3.1     Make:                           Nissan            Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Rogue             ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2018              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            70000             ❑ Check if this is community property (see                                         $14,455.00                  $14,455.00
                                                                      instructions)
               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes

       4.1     Make:                                             Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ❑ Debtor 1 only                                                       the amount of any secured claims on Schedule D:
               Model:                                            ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
                                                                 ❑ At least one of the debtors and another
               Year:
                                                                                                                                      entire property?                portion you own?
               Other information:
                                                                 ❑ Check if this is community property (see
                                                                      instructions)




                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                               $14,455.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                          $2,100.00
                                            See Attached.




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 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                           $500.00
                                        Iphone, TVs 2


 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
           information. .............



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                                                                                                                                                                                       ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                             $2,600.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                      Current value of the
                                                                                                                                                                                                  portion you own?
                                                                                                                                                                                                  Do not deduct secured
                                                                                                                                                                                                  claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................      Cash: ...................


 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                                                      Institution name:

                                                                                               PNC Bank
                                             17.1. Checking account:                           Account Number: 9232                                                                                           $2,000.00

                                                                                               PNC
                                             17.2. Savings account:                            Account Number: 9283                                                                                                $0.00

                                             17.3. Other financial account:                    Cash App                                                                                                            $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................          Institution or issuer name:




 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
            information about
            them....................        Name of entity:                                                                                                        % of ownership:




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                          page 4
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 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................   Issuer name:




 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ❑ No
       ✔ Yes. List each
       ❑
           account separately. Type of account:                 Institution name:

                                      401(k) or similar plan:    Principal                                                                       unknown


 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................                        Institution name or individual:

                                      Electric:

                                      Gas:

                                      Heating oil:

                                      Security deposit on rental unit:

                                      Prepaid rent:

                                      Telephone:

                                      Water:

                                      Rented furniture:

                                      Other:


 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................    Issuer name and description:




Official Form 106A/B                                                       Schedule A/B: Property                                                  page 5
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 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):




 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...



 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 Money or property owed to you?                                                                                                             Current value of the
                                                                                                                                            portion you own?
                                                                                                                                            Do not deduct secured
                                                                                                                                            claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                 them, including whether you                                                                        Federal:
                 already filed the returns and
                 the tax years. ...................                                                                 State:

                                                                                                                    Local:


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement




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       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
                                                                                                                   Alimony:

                                                                                                                   Maintenance:

                                                                                                                   Support:

                                                                                                                   Divorce settlement:

                                                                                                                   Property settlement:


 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                of each policy and list its value. ...   Company name:                             Beneficiary:                            Surrender or refund value:




 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............


 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


Official Form 106A/B                                                   Schedule A/B: Property                                                                  page 7
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                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                               $2,000.00



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 38.   Accounts receivable or commissions you already earned

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 39.   Office equipment, furnishings, and supplies
       Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs,
                 electronic devices

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 40.   Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 41.   Inventory

       ✔ No
       ❑
       ❑ Yes. Describe. .........


 42.   Interests in partnerships or joint ventures

       ✔ No
       ❑
       ❑ Yes. Describe .......
                                         Name of entity:                                                                                            % of ownership:




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 43.   Customer lists, mailing lists, or other compilations

       ✔ No
       ❑
       ❑ Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                   ❑ No
                   ❑ Yes. Describe. .........


 44.   Any business-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information .........




                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                                   $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.
 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.
                                                                                                                                                                                    Current value of the
                                                                                                                                                                                    portion you own?
                                                                                                                                                                                    Do not deduct secured
                                                                                                                                                                                    claims or exemptions.

 47.   Farm animals
       Examples: Livestock, poultry, farm-raised fish

       ✔ No
       ❑
       ❑ Yes ..........................


 48.   Crops—either growing or harvested

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




Official Form 106A/B                                                                      Schedule A/B: Property                                                                                    page 9
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 49.   Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

       ✔ No
       ❑
       ❑ Yes ..........................


 50.   Farm and fishing supplies, chemicals, and feed

       ✔ No
       ❑
       ❑ Yes ..........................


 51.   Any farm- and commercial fishing-related property you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                    $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............




 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                   $0.00


  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔          $169,100.00


 56.   Part 2: Total vehicles, line 5                                                                              $14,455.00

 57.   Part 3: Total personal and household items, line 15                                                           $2,600.00

 58.   Part 4: Total financial assets, line 36                                                                       $2,000.00

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $19,055.00              Copy personal property total             ➔      +    $19,055.00




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 10
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 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................          $188,155.00




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                 Continuation Page

 6.               Household goods and furnishings

                  bed                                                                                                    $600.00

                  clothing                                                                                              $1,000.00

                  sofa and love seat                                                                                     $500.00




Official Form 106A/B                                      Schedule A/B: Property                                          page 12
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 Fill in this information to identify your case:

  Debtor 1            Nathalie                 D                    Jackson
                      First Name               Middle Name         Last Name

  Debtor 2
  (Spouse, if filing) First Name               Middle Name         Last Name

  United States Bankruptcy Court for the:               Northern              District of       Illinois

  Case number
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ✔ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ❑
       ❑ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and         Current value of the      Amount of the exemption you claim             Specific laws that allow exemption
       line on Schedule A/B that lists this          portion you own
       property                                                                Check only one box for each exemption.
                                                     Copy the value from
                                                     Schedule A/B

       Brief             611 W Menominee                     $169,100.00
       description:      St, Belvidere, IL
                         61008
                         611 W Menominee St
                         Belvidere, IL 61008                                   ✔
                                                                               ❑            $4,662.00                        735 ILCS 5/12-901
       Line from                                                               ❑ 100% of fair market value, up to
       Schedule A/B:        1.1                                                     any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                              page 1 of 2
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                First Name                Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim           Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief              2018 Nissan Rogue                 $14,455.00
     description:                                                         ✔
                                                                          ❑          $0.00                            735 ILCS 5/12-1001(c)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         3.1                                                any applicable statutory limit

     Brief              clothing                           $1,000.00
     description:                                                         ✔
                                                                          ❑        $1,000.00                          735 ILCS 5/12-1001(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          6                                                 any applicable statutory limit

     Brief              sofa and love seat                   $500.00
     description:                                                         ✔
                                                                          ❑         $500.00                           735 ILCS 5/12-1001(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          6                                                 any applicable statutory limit

     Brief              bed                                  $600.00
     description:                                                         ✔
                                                                          ❑         $600.00                           735 ILCS 5/12-1001(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          6                                                 any applicable statutory limit

     Brief              Iphone, TVs 2                        $500.00
     description:                                                         ✔
                                                                          ❑         $500.00                           735 ILCS 5/12-1001(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          7                                                 any applicable statutory limit

     Brief              PNC Bank                           $2,000.00
     description:       Checking account
                        Acct. No.: 9232                                   ✔
                                                                          ❑        $2,000.00                          15 U.S.C. § 1673
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit

     Brief              PNC                                    $0.00
     description:       Savings account
                        Acct. No.: 9283                                   ✔
                                                                          ❑          $0.00                            735 ILCS 5/12-1001(b)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:         17                                                 any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                       page 2 of 2
                  Case 24-80991                 Doc 1         Filed 07/22/24 Entered 07/22/24 09:32:02                                      Desc Main
                                                               Document Page 24 of 80
 Fill in this information to identify your case:

     Debtor 1           Nathalie               D                      Jackson
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:             Northern               District of        Illinois

     Case number (if
     known)                                                                                                                                    ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                             12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor              Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other            Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the       Do not deduct the
                                                                                                                                       that supports this    portion
         creditor’s name.                                                                                       value of collateral.
                                                                                                                                       claim                 If any

     2.1 Capital One Auto Finance                      Describe the property that secures the claim:                   $15,536.00             $14,455.00       $1,081.00
         Creditor’s Name
                                                       2018 Nissan Rogue
          Attn: Bankruptcy
          7933 Preston Rd                              As of the date you file, the claim is: Check all that apply.
         Number          Street                        ❑ Contingent
          Plano, TX 75024-2302                         ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ✔ An agreement you made (such as mortgage or secured car loan)
                                                       ❑
         ❑ Debtor 2 only                               ❑ Statutory lien (such as tax lien, mechanic’s lien)
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ✔ Other (including a right to
                                                       ❑                                    Certificate of Title
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred         9/1/2021       Last 4 digits of account number         1      0     0   1

         Add the dollar value of your entries in Column A on this page. Write that number here:                       $15,536.00




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 3
              Case 24-80991                Doc 1       Filed 07/22/24 Entered 07/22/24 09:32:02                                     Desc Main
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Debtor 1        Nathalie              D                       Jackson                          Case number (if known)
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 LoanDepot                                  Describe the property that secures the claim:              $164,438.00             $169,100.00                $0.00
      Creditor’s Name
                                                 611 W Menominee St, Belvidere, IL 61008
       Attn: Bankruptcy
                                                 611 W Menominee St Belvidere, IL 61008
       26642 Towne Center
                                                 As of the date you file, the claim is: Check all that apply.
      Number         Street
                                                 ❑ Contingent
       Foothill Ranch, CA 92610                  ❑ Unliquidated
      City              State      ZIP Code      ❑ Disputed
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ✔ Other (including a right to
                                                 ❑                                    Deed of Trust
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred      11/1/2020      Last 4 digits of account number          0   0   7    3

      Add the dollar value of your entries in Column A on this page. Write that number here:                $164,438.00
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $179,974.00
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 3
              Case 24-80991               Doc 1        Filed 07/22/24 Entered 07/22/24 09:32:02                               Desc Main
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Debtor 1        Nathalie              D                     Jackson                         Case number (if known)
               First Name            Middle Name            Last Name


   Part 2:     List Others to Be Notified for a Debt That You Already Listed

 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
 agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly,
 if you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional
 persons to be notified for any debts in Part 1, do not fill out or submit this page.
   1. Marinosci Law Group
                                                                                  On which line in Part 1 did you enter the creditor? 2.2
      Name
                                                                                  Last 4 digits of account number
       2215 Enterprise Drive 1512
      Number            Street


       Westchester, IL 60154
      City                                 State             ZIP Code




Official Form 106D                        Part 2 of Schedule D: Creditors Who Have Claims Secured by Property                               page 3 of 3
                 Case 24-80991                 Doc 1          Filed 07/22/24 Entered 07/22/24 09:32:02                                      Desc Main
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 Fill in this information to identify your case:

  Debtor 1            Nathalie                D                        Jackson
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                Northern                District of      Illinois

  Case number
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Internal Revenue Service                           Last 4 digits of account number                                       $2,000.00       $2,000.00             $0.00
         Priority Creditor’s Name
                                                         When was the debt incurred?
         PO Box BOX 7317
         Number        Street
                                                         As of the date you file, the claim is: Check all that apply.

         Philadelphia, PA 19101                          ❑ Contingent
         City              State           ZIP Code      ❑ Unliquidated
                                                         ❑ Disputed
         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑                                               Type of PRIORITY unsecured claim:
         ❑ Debtor 2 only                                 ❑ Domestic support obligations
         ❑ Debtor 1 and Debtor 2 only                    ✔ Taxes and certain other debts you owe the government
                                                         ❑
         ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
         ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 14
              Case 24-80991                 Doc 1      Filed 07/22/24 Entered 07/22/24 09:32:02                                   Desc Main
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Debtor 1        Nathalie                D                    Jackson                          Case number (if known)
               First Name               Middle Name         Last Name


   Part 1:      Your PRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.           Total claim     Priority     Nonpriority
                                                                                                                                  amount       amount
  2.2 Internal Revenue Service                     Last 4 digits of account number                                    $1,221.00    $1,221.00        $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?
       Centralized Insolvency Operation
       Post Office Box 7346
      Number           Street                      As of the date you file, the claim is: Check all that apply.

       Philadelphia, PA 19101                      ❑ Contingent
      City                State         ZIP Code
                                                   ❑ Unliquidated
                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                            Type of PRIORITY unsecured claim:

      ❑ Debtor 2 only                              ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                 ✔ Taxes and certain other debts you owe the government
                                                   ❑
      ❑ At least one of the debtors and another    ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a               ❑ Other. Specify
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  2.3 VW LAW LLC                                   Last 4 digits of account number                                    $1,500.00    $1,500.00        $0.00
      Priority Creditor’s Name
                                                   When was the debt incurred?
       1755 Park St Suite 200
      Number           Street
                                                   As of the date you file, the claim is: Check all that apply.

       Naperville, IL 60563                        ❑ Contingent
      City                State         ZIP Code   ❑ Unliquidated
                                                   ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑                                            Type of PRIORITY unsecured claim:

      ❑ Debtor 2 only                              ❑ Domestic support obligations
      ❑ Debtor 1 and Debtor 2 only                 ❑ Taxes and certain other debts you owe the government
      ❑ At least one of the debtors and another    ❑ Claims for death or personal injury while you were intoxicated
      ❑ Check if this claim is for a               ✔ Other. Specify Attorney Fees
                                                   ❑
           community debt

      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         page 2 of 14
                 Case 24-80991                 Doc 1         Filed 07/22/24 Entered 07/22/24 09:32:02                                      Desc Main
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Debtor 1           Nathalie                D                        Jackson                           Case number (if known)
                  First Name               Middle Name             Last Name


      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Affirm, Inc.                                                       Last 4 digits of account number           F    J    L    Q                              $721.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   5/1/2023
         Attn: Bankruptcy Attn: Bankruptcy
         650 California St , Fl 12
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         San Francisco, CA 94108-2716
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                     State                    ZIP Code

         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify personal loan
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 Affirm, Inc.                                                       Last 4 digits of account number          K     T    6    M                              $368.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   5/1/2023
         Attn: Bankruptcy Attn: Bankruptcy
         650 California St , Fl 12
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         San Francisco, CA 94108-2716
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                     State                    ZIP Code

         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify personal loan
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 3 of 14
              Case 24-80991                 Doc 1      Filed 07/22/24 Entered 07/22/24 09:32:02                                 Desc Main
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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.3 Affirm, Inc.                                               Last 4 digits of account number        F    T    L     L                          $308.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/1/2023
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 Affirm, Inc.                                               Last 4 digits of account number        T    H    J     R                          $247.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/1/2023
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 4 of 14
              Case 24-80991                 Doc 1      Filed 07/22/24 Entered 07/22/24 09:32:02                                 Desc Main
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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.5 Affirm, Inc.                                               Last 4 digits of account number         5    0   7     K                          $231.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/1/2023
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 Affirm, Inc.                                               Last 4 digits of account number        G     0   P     5                          $187.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2023
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 5 of 14
              Case 24-80991                 Doc 1      Filed 07/22/24 Entered 07/22/24 09:32:02                                 Desc Main
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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.7 Affirm, Inc.                                               Last 4 digits of account number         8    5   4     E                          $152.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2023
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 Affirm, Inc.                                               Last 4 digits of account number         0   V    J     Q                          $135.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2022
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 6 of 14
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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
  4.9 Affirm, Inc.                                               Last 4 digits of account number        K    W    Z    1                             $52.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                10/1/2022
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 Affirm, Inc.                                               Last 4 digits of account number        V    G    S    O                             $31.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                10/1/2022
       Attn: Bankruptcy Attn: Bankruptcy
       650 California St , Fl 12
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       San Francisco, CA 94108-2716
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify personal loan
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.11 Avant/WebBank                                              Last 4 digits of account number         6    0   6     6                          $732.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 9/1/2021
       222 North LaSalle Street Suite 1600
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Chicago, IL 60601
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.12 Capital One                                                Last 4 digits of account number         3    2   6     9                        $2,389.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2014
       PO Box 30285
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       Salt Lake City, UT 84130
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.13 Chase Card Services                                        Last 4 digits of account number         8    0   9     9                        $1,450.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 5/1/2014
       Attn: Bankruptcy
       P.O. 15298
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Wilmington, DE 19850
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.14 Citibank/Best Buy                                          Last 4 digits of account number         7    1   5     8                        $1,894.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/1/2022
       Citicorp Cr Srvs/Centralized Bankruptcy
       PO Box 790040
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       St Louis, MO 63179-0040
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.15 Citibank/The Home Depot                                    Last 4 digits of account number         1    0   2     5                          $529.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2020
       Citicorp Cr Srvs/Centralized Bankruptcy
       PO Box 790040
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       St Louis, MO 63179-0040
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.16 Discover Financial                                         Last 4 digits of account number         6    7   5     2                        $2,335.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/1/2017
       PO Box 3025
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       New Albany, OH 43054
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.17 Kohls/Capital One                                          Last 4 digits of account number         9    7   4     0                        $2,896.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 8/1/2017
       Attn: Credit Administrator
       PO Box 3043
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Milwaukee, WI 53201-3043
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 Macys/fdsb                                                 Last 4 digits of account number         0    1   3     2                          $433.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2020
       Attn: Bankruptcy
       9111 Duke Boulevard
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Mason, OH 45040
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.19 Mariner Finance, LLC                                       Last 4 digits of account number         5    7   2     1                        $4,028.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 3/1/2022
       Attn: Bankruptcy
       8211 Town Center Drive
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Nottingham, MD 21236
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify money loaned
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.20 Synchrony Bank/Lowes                                       Last 4 digits of account number         5    4   5     7                            $49.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2020
       Attn: Bankruptcy
       Po Box 965060
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Orlando, FL 32896
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify ChargeAccount
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                         page 12 of 14
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Debtor 1        Nathalie                D                   Jackson                         Case number (if known)
               First Name               Middle Name         Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
 4.21 Upgrade, Inc.                                              Last 4 digits of account number         2    6   0     7                          $807.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 4/1/2022
       275 Battery St
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

       San Francisco, CA 94111
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CheckCreditOrLineOfCredit
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.22 Wells Fargo Bank NA                                        Last 4 digits of account number         4    5   6     1                          $470.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2016
       Attn: Bankruptcy
       1 Home Campus MAC X2303-01A 3rd Floor
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
       Des Moines, IA 50328
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                    priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1          Nathalie               D                      Jackson                      Case number (if known)
                  First Name            Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.   Domestic support obligations                                 6a.                          $0.00
 from Part 1
                   6b.   Taxes and certain other debts you owe the government         6b.                      $3,221.00

                   6c.   Claims for death or personal injury while you were           6c.                          $0.00
                         intoxicated

                   6d.   Other. Add all other priority unsecured claims.              6d.   +                  $1,500.00
                         Write that amount here.

                   6e.   Total. Add lines 6a through 6d.                              6e.
                                                                                                               $4,721.00



                                                                                                Total claim

 Total claims      6f.   Student loans                                                6f.                          $0.00
 from Part 2
                   6g.   Obligations arising out of a separation agreement or         6g.                          $0.00
                         divorce that you did not report as priority claims

                   6h.   Debts to pension or profit-sharing plans, and other          6h.                          $0.00
                         similar debts

                   6i.   Other. Add all other nonpriority unsecured claims.           6i.   +                 $20,444.00
                         Write that amount here.

                   6j.   Total. Add lines 6f through 6i.                              6j.
                                                                                                              $20,444.00




Official Form 106E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                     page 14 of 14
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 Fill in this information to identify your case:

     Debtor 1                       Nathalie             D                   Jackson
                                    First Name           Middle Name         Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name         Last Name

     United States Bankruptcy Court for the:                           Northern District of Illinois

     Case number                                                                                                                           ❑ Check if this is an
     (if known)                                                                                                                                amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                                State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                            page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1           Nathalie                 D                       Jackson
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                  Northern           District of       Illinois

  Case number
  (if known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                        . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                          ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
 3.1
        Name                                                                                               ❑ Schedule D, line
                                                                                                           ❑ Schedule E/F, line
        Number                          Street
                                                                                                           ❑ Schedule G, line
        City                                       State                                     ZIP Code

 3.2
        Name                                                                                               ❑ Schedule D, line
                                                                                                           ❑ Schedule E/F, line
        Number                          Street
                                                                                                           ❑ Schedule G, line
        City                                       State                                     ZIP Code




Official Form 106H                                                      Schedule H: Codebtors                                                             page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                  Nathalie               D                   Jackson
                           First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name         Last Name                                                Check if this is:

                                                                 Northern District of Illinois
                                                                                                                                ❑ An amended filing
                                                                                                                                ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                                                                                                                      chapter 13 income as of the following date:
  (if known)

                                                                                                                                   MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                                Debtor 1                                             Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status              ✔ Employed ❑ Not Employed
                                                                            ❑                                                    ✔ Employed ❑ Not Employed
                                                                                                                                 ❑
     attach a separate page with
     information about additional            Occupation                     Caregiver
     employers.
                                             Employer's name                Sedgebrook                                           Market Dimensions Inc
     Include part time, seasonal, or
     self-employed work.
                                             Employer's address             800 Audobon Way                                      4320 Morsay Dr
     Occupation may include student                                          Number Street                                        Number Street
     or homemaker, if it applies.




                                                                            Lincolnshire, IL 60069                               Rockford, IL 61108
                                                                             City                     State      Zip Code         City                State     Zip Code
                                             How long employed there? 3 years                                                     3 months


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                          For Debtor 1      For Debtor 2 or
                                                                                                                            non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.              2.               $4,280.43                  $2,613.00

 3. Estimate and list monthly overtime pay.                                                  3.   +               $0.00     +                $0.00


 4. Calculate gross income. Add line 2 + line 3.                                             4.               $4,280.43                  $2,613.00




Official Form 106I                                                           Schedule I: Your Income                                                                 page 1
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                                                                                 Document Page 44 of 80
 Debtor 1                 Nathalie                     D                               Jackson                                       Case number (if known)
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $4,280.43               $2,613.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.            $664.12                 $477.46
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.            $331.95                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.            $434.06                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.              $0.00                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.           $1,430.14                 $477.46
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $2,850.29               $2,135.54
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.            $635.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.             $635.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $3,485.29     +          $2,135.54          =         $5,620.83

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $5,620.83
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Debtor 1            Nathalie       D                Jackson                         Case number (if known)
                     First Name     Middle Name      Last Name


   8a. Attached Statement
                                                           Rental Income
       1.   Gross Monthly Income:                                                                                 $875.00
       2.   TOTAL EXPENSES                                                                                        $240.00
       3.   AVERAGE NET MONTHLY INCOME                                                                            $635.00




Official Form 106I                                         Schedule I: Your Income                                   page 3
                        Case 24-80991               Doc 1         Filed 07/22/24 Entered 07/22/24 09:32:02                              Desc Main
                                                                   Document Page 46 of 80
 Fill in this information to identify your case:

  Debtor 1                  Nathalie                D                    Jackson
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                         Northern District of Illinois
                                                                                                                      MM / DD / YYYY
  Case number
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ❑ No
     Do not list Debtor 1 and                  ✔ Yes. Fill out this information
                                               ❑                                        Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.
                                                                                        Child                               20                       ✔ Yes.
                                                                                                                                               ❑ No. ❑
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                  $1,200.00

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                       $0.00
     4d. Homeowner's association or condominium dues                                                                          4d.                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1            Nathalie               D                    Jackson                                     Case number (if known)
                     First Name             Middle Name          Last Name


                                                                                                                             Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                  5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                          6a.                 $100.00
       6b. Water, sewer, garbage collection                                                                        6b.                  $40.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                          6c.                  $55.00

       6d. Other. Specify: Internet                                                                                6d.                  $35.00
 7.    Food and housekeeping supplies                                                                              7.                  $820.00

 8.    Childcare and children’s education costs                                                                    8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                         9.                  $157.00

 10. Personal care products and services                                                                           10.                  $80.00

 11.   Medical and dental expenses                                                                                 11.                  $35.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                  12.                 $400.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                            13.                  $50.00

 14. Charitable contributions and religious donations                                                              14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                         15a.                 $50.00
       15b. Health insurance                                                                                       15b.                      $0.00
       15c. Vehicle insurance                                                                                      15c.                $140.00

       15d. Other insurance. Specify:                                                                              15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                    16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1 2018 Nissan Rogue                                                           17a.                $435.00
       17b. Car payments for Vehicle 2                                                                             17b.                      $0.00
       17c. Other. Specify:                                                                                        17c.                      $0.00
       17d. Other. Specify:                                                                                        17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                        18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                    19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                            20a.                      $0.00
       20b. Real estate taxes                                                                                      20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                           20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                               20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                            20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                                page 2
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 Debtor 1            Nathalie            D                     Jackson                                      Case number (if known)
                     First Name          Middle Name           Last Name



 21. Other. Specify:                                                                                              21.    +                $0.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                                22a.                 $3,597.00

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                        22b.                       $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                             22c.                 $3,597.00


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                           23a.                 $5,620.83

      23b. Copy your monthly expenses from line 22c above.                                                        23b.       –         $3,597.00
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                                23c.                 $2,023.83



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                   page 3
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 Fill in this information to identify your case:

  Debtor 1                      Nathalie                    D                        Jackson
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                                  Northern District of Illinois

  Case number                                                                                                                                                            ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                    $169,100.00

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $19,055.00

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $188,155.00



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $179,974.00

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                      $4,721.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +            $20,444.00

                                                                                                                                                  Your total liabilities                  $205,139.00

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $5,620.83


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $3,597.00




Official Form 106Sum                                            Summary of Your Assets and Liabilities and Certain Statistical Information                                                       page 1 of 2
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Debtor 1            Nathalie              D                      Jackson                                           Case number (if known)
                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          $4,757.62




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                 $3,221.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00


    9d. Student loans. (Copy line 6f.)                                                                                            $0.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00


    9g. Total. Add lines 9a through 9f.                                                                                       $3,221.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  Nathalie               D                   Jackson
                           First Name              Middle Name         Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name         Last Name

  United States Bankruptcy Court for the:                        Northern District of Illinois

  Case number                                                                                                                        ❑ Check if this is an
  (if known)                                                                                                                             amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                           04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ✔ Married
    ❑
    ❑ Not married
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.
      Debtor 1:                                              Dates Debtor 1 lived     Debtor 2:                                            Dates Debtor 2 lived
                                                             there                                                                         there


                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                                 Number    Street
                                                           To                                                                             To



    City                            State ZIP Code                                      City                        State ZIP Code



                                                                                     ❑ Same as Debtor 1                                   ❑ Same as Debtor 1
                                                           From                                                                           From
    Number       Street                                                                 Number    Street
                                                           To                                                                             To



    City                            State ZIP Code                                      City                        State ZIP Code




  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 1
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Debtor 1            Nathalie          D                       Jackson                                        Case number (if known)
                    First Name        Middle Name             Last Name
 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross Income                Sources of income           Gross Income
                                                 Check all that apply.      (before deductions and      Check all that apply.       (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
                                                ❑ Wages, commissions,                                  ❑ Wages, commissions,
    date you filed for bankruptcy:                  bonuses, tips                                          bonuses, tips
                                                ❑ Operating a business                                 ❑ Operating a business

    For last calendar year:                     ❑ Wages, commissions,                                  ❑ Wages, commissions,
                                                    bonuses, tips                                          bonuses, tips
    (January 1 to December 31, 2023       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business

    For the calendar year before that:          ✔ Wages, commissions,
                                                ❑                                                      ❑ Wages, commissions,
                                                    bonuses, tips                   $70,576.00             bonuses, tips
    (January 1 to December 31, 2022       )
                                   YYYY         ❑ Operating a business                                 ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Debtor 1                                               Debtor 2

                                                 Sources of income          Gross income from           Sources of income           Gross Income from
                                                 Describe below.            each source                 Describe below.             each source
                                                                            (before deductions and                                  (before deductions and
                                                                            exclusions)                                             exclusions)


    From January 1 of current year until the
    date you filed for bankruptcy:


    For last calendar year:
    (January 1 to December 31, 2023       )
                                   YYYY



    For the calendar year before that:
    (January 1 to December 31, 2022       )
                                   YYYY




Official Form 107                               Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2
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Debtor 1             Nathalie                     D                     Jackson                                       Case number (if known)
                     First Name                   Middle Name           Last Name
 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ✔ No. Go to line 7.
              ❑
              ❑ Yes.        List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                                   Dates of           Total amount paid        Amount you still owe       Was this payment for…
                                                                   payment

                                                                                                                                         ❑ Mortgage
             Creditor's Name
                                                                                                                                         ❑ Car
                                                                                                                                         ❑ Credit card
                                                                                                                                         ❑ Loan repayment
             Number       Street


                                                                                                                                         ❑ Suppliers or vendors
             City                         State       ZIP Code
                                                                                                                                         ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.
                                                                 Dates of           Total amount paid   Amount you still         Reason for this payment
                                                                 payment                                owe



    Insider's Name


    Number     Street




    City                          State      ZIP Code




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Debtor 1             Nathalie              D                       Jackson                                         Case number (if known)
                     First Name            Middle Name             Last Name



  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.
                                                           Dates of            Total amount paid    Amount you still           Reason for this payment
                                                           payment                                  owe                        Include creditor’s name



    Insider's Name


    Number       Street




    City                          State   ZIP Code




 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                      Nature of the case                      Court or agency                                  Status of the case

                                                      Foreclosure
    Case title        Loandepot.com                                                          In The Circuit Court of the 17th                ✔ Pending
                                                                                                                                             ❑
    Case number 2023FC89
                                                                                             Judicial Circuit Court
                                                                                             Court Name
                                                                                                                                             ❑ On appeal
                                                                                             601 N. Main Street                              ❑ Concluded
                                                                                             Number       Street
                                                                                             Belvidere, IL 61008
                                                                                             City                      State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




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Debtor 1            Nathalie               D                       Jackson                                        Case number (if known)
                    First Name             Middle Name             Last Name

                                                                    Describe the property                                Date               Value of the property



    Creditor’s Name



    Number     Street                                               Explain what happened

                                                                   ❑ Property was repossessed.
                                                                   ❑ Property was foreclosed.
                                                                   ❑ Property was garnished.
    City                           State    ZIP Code               ❑ Property was attached, seized, or levied.


  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                            Describe the action the creditor took                      Date action was     Amount
                                                                                                                       taken
    Creditor’s Name



    Number     Street



    City                          State    ZIP Code
                                                           Last 4 digits of account number: XXXX–




  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift.




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                     First Name             Middle Name          Last Name

     Gifts with a total value of more than $600           Describe the gifts                                        Dates you gave       Value
     per person                                                                                                     the gifts



    Person to Whom You Gave the Gift




    Number     Street



    City                            State   ZIP Code

    Person’s relationship to you



  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.
     Gifts or contributions to charities          Describe what you contributed                                Date you              Value
     that total more than $600                                                                                 contributed



    Charity’s Name




    Number     Street



    City                    State    ZIP Code




 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
     Describe the property you lost and Describe any insurance coverage for the loss                           Date of your loss     Value of property lost
     how the loss occurred              Include the amount that insurance has paid. List pending
                                        insurance claims on line 33 of Schedule A/B: Property.




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Debtor 1            Nathalie            D                    Jackson                                        Case number (if known)
                    First Name          Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                              Description and value of any property transferred            Date payment or       Amount of payment
    VW LAW LLC                                                                                             transfer was made
    Person Who Was Paid                       Attorney’s Fee
                                                                                                           02/02/2024                   $3,000.00
    1755 Park St Suite 200
    Number     Street




    Naperville, IL 60563
    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You

                                              Description and value of any property transferred            Date payment or       Amount of payment
    decaf                                                                                                  transfer was made
    Person Who Was Paid                       Credit Counseling
                                                                                                                                           $25.00
    Number     Street




    City                   State   ZIP Code


    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of any property transferred            Date payment or       Amount of payment
                                                                                                           transfer was made
    Person Who Was Paid



    Number     Street




    City                   State   ZIP Code



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Debtor 1            Nathalie            D                    Jackson                                        Case number (if known)
                    First Name          Middle Name          Last Name



  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of property         Describe any property or payments             Date transfer was
                                              transferred                               received or debts paid in exchange            made

    Person Who Received Transfer



    Number     Street




    City                   State   ZIP Code

    Person's relationship to you




  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                              Description and value of the property transferred                                       Date transfer was
                                                                                                                                      made


    Name of trust




 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            Nathalie             D                    Jackson                                        Case number (if known)
                    First Name           Middle Name          Last Name

                                                Last 4 digits of account number         Type of account or     Date account was          Last balance
                                                                                        instrument             closed, sold, moved, or   before closing or
                                                                                                               transferred               transfer

    Name of Financial Institution
                                                XXXX–                                ❑ Checking
                                                                                     ❑ Savings
    Number      Street
                                                                                     ❑ Money market
                                                                                     ❑ Brokerage
                                                                                     ❑ Other
    City                   State    ZIP Code




  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else had access to it?                   Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Financial Institution               Name
                                                                                                                                         ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code



  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                 Who else has or had access to it?            Describe the contents                       Do you still have
                                                                                                                                          it?

                                                                                                                                         ❑ No
    Name of Storage Facility                    Name
                                                                                                                                         ❑ Yes

    Number      Street                          Number    Street



                                                City                 State   ZIP Code

    City                   State    ZIP Code




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Debtor 1            Nathalie            D                     Jackson                                              Case number (if known)
                    First Name          Middle Name            Last Name
 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                Where is the property?                             Describe the property                     Value



    Owner's Name
                                               Number     Street



    Number     Street

                                               City                       State   ZIP Code



    City                   State   ZIP Code




 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                               Governmental unit                             Environmental law, if you know it              Date of notice



    Name of site                              Governmental unit



    Number     Street                         Number     Street



                                              City                State     ZIP Code


    City                   State   ZIP Code




  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.



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                    First Name            Middle Name               Last Name

                                                   Governmental unit                        Environmental law, if you know it                 Date of notice



    Name of site                                  Governmental unit



    Number        Street                          Number       Street



                                                  City                  State   ZIP Code


    City                    State   ZIP Code




  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.
                                                   Court or agency                          Nature of the case                                Status of the case



    Case title                                                                                                                                ❑ Pending
                                                                                                                                              ❑ On appeal
                                                  Court Name


                                                                                                                                              ❑ Concluded
                                                  Number       Street


    Case number
                                                  City                  State   ZIP Code




 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

           ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
           ❑ A partner in a partnership
           ❑ An officer, director, or managing executive of a corporation
           ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.
                                                    Describe the nature of the business                      Employer Identification number
                                                                                                             Do not include Social Security number or ITIN.
    Name
                                                                                                              EIN:          –

    Number        Street
                                                    Name of accountant or bookkeeper                         Dates business existed


                                                                                                              From                  To

    City                    State   ZIP Code




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                    First Name          Middle Name              Last Name



  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.
                                                 Date issued



    Name                                        MM / DD / YYYY



    Number       Street




    City                   State   ZIP Code




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ Nathalie D Jackson
           Signature of Nathalie D Jackson, Debtor 1


           Date 07/22/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                    Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                           Declaration, and Signature (Official Form 119).




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                            Affirm, Inc.
                            Attn: Bankruptcy Attn: Bankruptcy
                            650 California St , Fl 12
                            San Francisco, CA 94108-2716



                            Avant/WebBank
                            222 North LaSalle Street Suite 1600
                            Chicago, IL 60601




                            Capital One
                            PO Box 30285
                            Salt Lake City, UT 84130




                            Capital One Auto Finance
                            Attn: Bankruptcy 7933 Preston Rd
                            Plano, TX 75024-2302




                            Chase Card Services
                            Attn: Bankruptcy P.O. 15298
                            Wilmington, DE 19850




                            Citibank/Best Buy
                            Citicorp Cr Srvs/Centralized Bankruptcy
                            PO Box 790040
                            St Louis, MO 63179-0040



                            Citibank/The Home Depot
                            Citicorp Cr Srvs/Centralized Bankruptcy
                            PO Box 790040
                            St Louis, MO 63179-0040



                            Discover Financial
                            PO Box 3025
                            New Albany, OH 43054
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                            Internal Revenue Service
                            PO Box BOX 7317
                            Philadelphia, PA 19101




                            Internal Revenue Service
                            Centralized Insolvency Operation
                            Post Office Box 7346
                            Philadelphia, PA 19101



                            Kohls/Capital One
                            Attn: Credit Administrator
                            PO Box 3043
                            Milwaukee, WI 53201-3043



                            LoanDepot
                            Attn: Bankruptcy 26642 Towne Center
                            Foothill Ranch, CA 92610




                            Macys/fdsb
                            Attn: Bankruptcy 9111 Duke Boulevard
                            Mason, OH 45040




                            Mariner Finance, LLC
                            Attn: Bankruptcy 8211 Town Center Drive
                            Nottingham, MD 21236




                            Marinosci Law Group
                            2215 Enterprise Drive 1512
                            Westchester, IL 60154




                            Synchrony Bank/Lowes
                            Attn: Bankruptcy
                            Po Box 965060
                            Orlando, FL 32896
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                            Upgrade, Inc.
                            275 Battery St
                            San Francisco, CA 94111




                            VW LAW LLC
                            1755 Park St Suite 200
                            Naperville, IL 60563




                            Wells Fargo Bank NA
                            Attn: Bankruptcy 1 Home Campus MAC
                            X2303-01A 3rd Floor
                            Des Moines, IA 50328
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                                                IN THE UNITED STATES BANKRUPTCY COURT
                                                     NORTHERN DISTRICT OF ILLINOIS
                                                       EASTERN DIVISION (CHICAGO)

IN RE: Jackson, Nathalie D                                                            CASE NO

                                                                                      CHAPTER 13




                                                  VERIFICATION OF CREDITOR MATRIX

 The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her knowledge.


Date     07/22/2024             Signature                             /s/ Nathalie D Jackson
                                                                       Nathalie D Jackson, Debtor
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B2030 (Form 2030) (12/15)


                                                            United States Bankruptcy Court
                                                                                  Northern District of Illinois

In re        Jackson, Nathalie D

                                                                                                                           Case No.

Debtor                                                                                                                     Chapter                      13


                                         DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
        compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered
        or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

        ✔ FLAT FEE
        ❑
        For legal services, I have agreed to accept ................................................................................................................................................
                                                                                                                                                                       $4,500.00

        Prior to the filing of this statement I have received ................................................................................................................................................
                                                                                                                                                                      $3,000.00

        Balance Due ................................................................................................................................................      $1,500.00


        ❑ RETAINER
        For legal services, I have agreed to accept and received a retainer of ............................................................................................................................

        The undersigned shall bill against the retainer at an hourly rate of ..................................................................................................................................
        [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved fees and
        expenses exceeding the amount of the retainer.

2.                   $0.00                  of the filing fee has been paid.

3.      The source of the compensation paid to me was:

        ✔ Debtor
        ❑                                ❑ Other (specify)
4.      The source of compensation to be paid to me is:

        ✔ Debtor
        ❑                                ❑ Other (specify)
5.      ✔ I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my
        ❑
        law firm.

        ❑ I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates of my
        law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

6.      In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

        a.      Analysis of the debtor' s financial situation, and rendering advice to the debtor in determining whether to file a petition in
                bankruptcy;




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B2030 (Form 2030) (12/15)


      b.   Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;

      c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

7.    By agreement with the debtor(s), the above-disclosed fee does not include the following services:




                                                               CERTIFICATION

                        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to
                me for representation of the debtor(s) in this bankruptcy proceeding.

                         07/22/2024                                               /s/ Vaughn White
                Date                                          Vaughn White
                                                              Signature of Attorney
                                                                                               Bar Number: 6198291
                                                                                                       VW LAW LLC
                                                                                              1700 Park St Suite 203
                                                                                                Naperville, IL 60563
                                                                                              Phone: (630) 429-9010

                                                                                   VW LAW LLC
                                                              Name of law firm




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Form 13-8
                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS


                         COURT-APPROVED RETENTION AGREEMENT
                            (for cases filed on or after March 15, 2021)


         This agreement describes the rights and duties of debtors and their lawyers in Chapter 13
bankruptcy cases in the Northern District of Illinois. The debtor and lawyer must enter into this agreement
for the lawyer to receive a flat fee of $ 4,500.00 as compensation in the case. By signing this
agreement, the debtor and lawyer agree to do everything this agreement requires.


               DO NOT sign this agreement unless you have read it and understand it.


        This agreement replaces any conflicting agreement between the debtor and the lawyer. If any
provision of another agreement conflicts with this agreement, the lawyer will not be awarded a flat fee as
compensation in the case.

         The lawyer must perform all tasks reasonably necessary for the bankruptcy case. Performance of
those tasks is a condition of receiving the flat fee. The lawyer may not charge any other fees for
representing the debtor in the case. The sole exception, explained below, is representation of the debtor in
certain lawsuits in the bankruptcy case known as adversary proceedings.

1.      Duties of the Debtor and the Lawyer

        A.      Counseling Before Filing a Bankruptcy Case

        Before a bankruptcy case is filed, the debtor must provide financial and other information to the
lawyer. The lawyer must evaluate the information and advise the debtor whether filing a bankruptcy case
is appropriate, and if so, under which chapter of the Bankruptcy Code. The lawyer must explain the
advantages and disadvantages of filing a bankruptcy case.

        If filing a chapter 13 bankruptcy case is appropriate, the lawyer must explain how and when
attorneys’ fees will be paid.

        B.      Documents for the Case

         The lawyer or a member of the lawyer’s staff must prepare all the documents required to be filed
in the bankruptcy case. The debtor must provide all information the lawyer or a member of the lawyer’s
staff requests to prepare the documents. Failure to provide requested information will make it difficult or
impossible for the lawyer to file the case or to represent the debtor once the case is filed. The lawyer must
review each document with the debtor, who must approve and sign the documents.




                                                                                         Best Case Bankruptcy
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        C.       Representation of the Debtor throughout the Case

       The lawyer must represent the debtor at the § 341 meeting of creditors and in all court hearings.
The lawyer must prepare and file all motions necessary for the case and must represent the debtor on all
other motions that affect the debtor’s interests.

        The lawyer must examine all claims creditors file in the case and must object to claims if
appropriate.

        The lawyer must be available to answer the debtor’s questions about the case and must answer
them in a timely manner.

         The debtor must notify the lawyer of any significant change in the debtor’s circumstances, such
as the loss of a job or the proposed purchase or sale of a home or car. The debtor must also notify the
lawyer of any change in the debtor’s address, phone number, or email address.

        If the debtor and the lawyer decide that the case should be converted to a case under chapter 7,
the lawyer must file the notice of conversion.

        The lawyer must file and represent the debtor in adversary proceedings for turnover of property
of the bankruptcy estate.

2.      Attorneys’ Fees and Expenses

        A.       Flat Fee for Attorneys’ Fees

        The lawyer may charge a flat fee for all services required in this agreement. The flat fee may not
exceed the amount permitted by the court when the case is filed.

        The flat fee does not cover:

                 ·       representing the debtor in adversary proceedings other than for turnover of estate
                         property

                 ·       representing the debtor in the chapter 7 case, if the case is converted to chapter 7

                 ·       representing the debtor in appeals

       The debtor and the lawyer can negotiate an additional fee for representation in adversary
proceedings not included in the flat fee and for representation in a chapter 7 case if the case is converted.

        B.       Expenses

        The lawyer may also charge the debtor for certain actual, necessary expenses incurred in
representing the debtor as permitted in this paragraph. These expenses are in addition to the flat attorney’s
fees. The court must approve all expenses.

        The lawyer may charge the debtor for the following expenses:

                 ·       Court filing fees
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                 ·       Fees charged by a credit reporting agency for a credit report

                 ·       Copying and postage charges as follows:

                         1.       A flat fee not to exceed $25 for all copying and postage charges in the
                                  case. The copying and postage charges need not be itemized

                                                      or

                         2.       The actual amount of postage and copying costs (no more than $0.10 per
                                  page) incurred in the case. The itemization must state (a) the number of
                                  copies and the dates when the copies were made, and (2) the dates and
                                  amounts of postage charges incurred.

                 ·       Fees charged by the IRS or other taxing authorities to obtain tax returns

                 ·       Other actual, necessary expenses, but only if the lawyer submits to the court an
                         itemization of the expenses with supporting copies of invoices or other
                         documents

       The lawyer may not charge the debtor for an outside service that serves documents filed in the
bankruptcy case.

        C.       Advance Payment to the Lawyer

       The lawyer and the debtor must agree on whether the debtor will pay any or all of the attorneys’
fee owed for the case before it is filed.

      If the debtor makes a payment before the case is filed, the payment will be treated as an advance
payment retainer.

         The lawyer must explain to the debtor how an advance payment retainer is treated. The lawyer
will not hold the retainer in a client trust account and it will become property of the lawyer upon payment.
The special purpose of the advance payment retainer is that it permits the lawyer to be paid for essential
work that must be performed before the court can consider the lawyer’s fee application. The lawyer is not
required to keep detailed time records because this is a flat fee agreement. The lawyer need not refund
any portion of the advance payment if work is not performed, unless the court orders the lawyer to do so.

        D.       Payment of the Balance during the Case

        Attorneys’ fees not paid before the case is filed will be paid to the lawyer by the trustee out of the
debtor’s plan payments. The debtor may not pay the lawyer directly after the case is filed.

         The debtor’s Chapter 13 plan may not provide for current monthly payments to secured creditors
that are other than in equal amounts. The lawyer may not file a Chapter 13 plan for the debtor in which
payments to a secured creditor are set at an amount that accelerates payments to the lawyer.

        E.       Additional Fees in Extraordinary Circumstances


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       In extraordinary circumstances, the lawyer may apply to the court for additional compensation.
The application must be accompanied by an itemization of the services rendered.

3.      Coverage Counsel

        A.      Disclosure of the Practice

        If the debtor’s lawyer has a practice of using other lawyers not employed at the same firm to
perform any of the lawyer’s obligations under this agreement, he must disclose that practice to the debtor
before the debtor signs the agreement.

        B.      Identifying Coverage Counsel

        If the debtor’s lawyer asks another lawyer not employed at the same firm to represent the debtor
at the meeting of creditors or at any court appearance, the debtor’s lawyer must notify the debtor in
advance and must provide the name of the lawyer who will represent the debtor.

        C.      Providing Information to Coverage Counsel

       If the debtor has information to give the other lawyer for the meeting of creditors or for a court
appearance, the debtor must give that information to the debtor’s lawyer. The debtor’s lawyer must then
promptly forward the information to the lawyer representing the debtor at the meeting or in court.

4.      Dismissal or Conversion of the Case

       If the bankruptcy case is dismissed or converted to another chapter before all plan payments have
been made, the attorneys’ fees paid to the lawyer are not refundable, unless the court orders the fees
refunded.

        If the bankruptcy case is dismissed after the court has granted the lawyer’s application for
compensation, the lawyer will not enforce the order granting the application against the debtor for any
unpaid fees or expenses.

5.      Termination of this Agreement

        The debtor may terminate this agreement at any time. By terminating the agreement, the debtor
ends the lawyer’s representation. If the lawyer has not been paid in full when the agreement is terminated,
the court may reduce the balance of attorneys’ fees owed based on the services the lawyer provided
before termination.

        If the debtor terminates this agreement and hires another lawyer, the court may apportion the flat
fee between the lawyers.

        The lawyer may terminate this agreement only with court approval.




                                                     4
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                        Case 24-80991              Doc 1         Filed 07/22/24 Entered 07/22/24 09:32:02                                 Desc Main
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 Fill in this information to identify your case:                                                                            Check as directed in lines 17 and 21:
                                                                                                                            According to the calculations required by this
  Debtor 1                  Nathalie               D                     Jackson                                            Statement:
                           First Name              Middle Name           Last Name                                          ✔ 1. Disposable income is not determined
                                                                                                                            ❑
  Debtor 2                                                                                                                     under 11 U.S.C. § 1325(b)(3).
  (Spouse, if filing)      First Name              Middle Name           Last Name                                          ❑ 2. Disposable income is determined
                                                                                                                               under 11 U.S.C. § 1325(b)(3).
                                                                 Northern District of Illinois
  United States Bankruptcy Court for the:
                                                                                                                            ✔ 3. The commitment period is 3 years.
                                                                                                                            ❑
  Case number                                                                                                               ❑ 4. The commitment period is 5 years.
  (if known)

                                                                                                                            ❑ Check if this is an amended filing
Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                                  10/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name
and case number (if known).


 Part 1: Calculate Your Average Monthly Income

 1. What is your marital and filing status? Check one only.
     ❑ Not married. Fill out Column A, lines 2-11.
     ✔ Married. Fill out both Columns A and B, lines 2-11.
     ❑
  Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case.11 U.S.C. §
  101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income
  varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For
  example, if both spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write
  $0 in the space.

                                                                                                                 Column A              Column B
                                                                                                                 Debtor 1              Debtor 2 or
                                                                                                                                       non-filing spouse

 2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all                                   $3,625.45                    $603.00
    payroll deductions).

 3. Alimony and maintenance payments. Do not include payments from a spouse.                                                $0.00                    $0.00

 4. All amounts from any source which are regularly paid for household expenses of you or
    your dependents, including child support. Include regular contributions from an
    unmarried partner, members of your household, your dependents, parents, and
    roommates. Do not include payments from a spouse. Do not include payments you listed
    on line 3.                                                                                                              $0.00                    $0.00

 5. Net income from operating a business, profession, or
    farm                                                                  Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                    $0.00            $0.00

     Ordinary and necessary operating expenses                       -         $0.00   -        $0.00


     Net monthly income from a business, profession, or farm                   $0.00           $0.00    Copy
                                                                                                        here →              $0.00                    $0.00

 6. Net income from rental and other real property                        Debtor 1         Debtor 2

     Gross receipts (before all deductions)                                  $729.17            $0.00

     Ordinary and necessary operating expenses                       -       $200.00   -        $0.00


     Net monthly income from rental or other real property                   $529.17           $0.00    Copy
                                                                                                        here →         $529.17                       $0.00



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Debtor 1                   Nathalie                       D                                   Jackson                                 Case number (if known)
                           First Name                      Middle Name                        Last Name
                                                                                                                        Column A                    Column B
                                                                                                                        Debtor 1                    Debtor 2 or
                                                                                                                                                    non-filing spouse
 7. Interest, dividends, and royalties                                                                                                 $0.00                    $0.00
 8. Unemployment compensation                                                                                                          $0.00                    $0.00
    Do not enter the amount if you contend that the amount received was a benefit under
    the Social Security Act. Instead, list it here: ..................................................    ↓
           For you....................................................................................        $0.00
           For your spouse......................................................................              $0.00
 9. Pension or retirement income. Do not include any amount received that was a benefit                                                $0.00                    $0.00
    under the Social Security Act. Also, except as stated in the next sentence, do not
    include any compensation, pension, pay, annuity, or allowance paid by the United
    States Government in connection with a disability, combat-related injury or disability, or
    death of a member of the uniformed services. If you received any retired pay paid
    under chapter 61 of title 10, then include that pay only to the extent that it does not
    exceed the amount of retired pay to which you would otherwise be entitled if retired
    under any provision of title 10 other than chapter 61 of that title.

 10. Income from all other sources not listed above. Specify the source and amount. Do
     not include any benefits received under the Social Security Act; payments received as
     a victim of a war crime, a crime against humanity, or international or domestic
     terrorism; or compensation, pension, pay, annuity, or allowance paid by the United
     States Government in connection with a disability, combat-related injury or disability, or
     death of a member of the uniformed services. If necessary, list other sources on a
     separate page and put the total below.




    Total amounts from separate pages, if any.                                                                         +                             +

 11. Calculate your total average monthly income. Add lines 2 through 10 for each                                               $4,154.62            +       $603.00        = $4,757.62
     column. Then add the total for Column A to the total for Column B.
                                                                                                                                                                             Total average
                                                                                                                                                                            monthly income

Part 2: Determine How to Measure Your Deductions from Income

 12. Copy your total average monthly income from line 11. .................................................................................                                     $4,757.62
 13. Calculate the marital adjustment. Check one:

   ❑ You are not married. Fill in 0 below.
   ❑ You are married and your spouse is filing with you. Fill in 0 below.
   ✔ You are married and your spouse is not filing with you.
   ❑
       Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or
       your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or your
       dependents.
       Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list
       additional adjustments on a separate page.
       If this adjustment does not apply, enter 0 below.




                                                                                                                 +

       Total...........................................................................................                      $0.00            Copy here. →              -          $0.00

 14. Your current monthly income. Subtract the total in line 13 from line 12.                                                                                                  $4,757.62




Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                     page 2
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Debtor 1                  Nathalie                       D                                  Jackson                                                             Case number (if known)
                          First Name                      Middle Name                       Last Name

 15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here →...............................................................................................................................................................               $4,757.62
              Multiply line 15a by 12 (the number of months in a year).                                                                                                                                   x 12
       15b. The result is your current monthly income for the year for this part of the form.....................................................................                                           $57,091.44

 16. Calculate the median family income that applies to you. Follow these steps:
       16a. Fill in the state in which you live.                                                                       Illinois
       16b. Fill in the number of people in your household.                                                                 2

       16c. Fill in the median family income for your state and size of household. ....................................................................................                                     $86,442.00
              To find a list of applicable median income amounts, go online using the link specified in the separate
              instructions for this form. This list may also be available at the bankruptcy clerk’s office.

 17. How do the lines compare?

       17a.     ✔ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11
                ❑
                       U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C–2).
       17b. ❑ Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                       1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C–2). On line 39 of that form, copy your
                       current monthly income from line 14 above.
Part 3: Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

 18. Copy your total average monthly income from line 11. ..........................................................................................................
                                                                                                                                                                                                             $4,757.62
 19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend that
     calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s income, copy the
     amount from line 13.
   19a. If the marital adjustment does not apply, fill in 0 on line 19a. .....................................................................................................                        -          $0.00
   19b. Subtract line 19a from line 18.                                                                                                                                                                      $4,757.62
 20. Calculate your current monthly income for the year. Follow these steps.

   20a. Copy line 19b.............................................................................................................................................................................           $4,757.62
           Multiply by 12 (the number of months in a year).                                                                                                                                          x 12
   20b. The result is your current monthly income for the year for this part of the form.                                                                                                                   $57,091.44

   20c. Copy the median family income for your state and size of household from line 16c. ...............................................................                                                   $86,442.00

 21. How do the lines compare?
   ✔ Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3,
   ❑
         The commitment period is 3 years. Go to Part 4.
   ❑ Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
         check box 4, The commitment period is 5 years. Go to Part 4.

Part 4: Sign Below

    By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.


         ✘ /s/ Nathalie D Jackson
               Signature of Debtor 1

               Date 07/22/2024
                         MM/ DD/ YYYY

    If you checked 17a, do NOT fill out or file Form 122C–2.
    If you checked 17b, fill out Form 122C–2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.



Official Form 122C-1                                   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                                                  page 3
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